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   4195-23733

                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA
   IN RE:                                 *                CHAPTER 11
                                          *
   FIRST NBC BANK HOLDING COMPANY,        *                CASE NO. 17-11213
                                          *
                    Debtor,               *                SECTION “A”
                                          *
   *     *     *    *       *     *    *  *
                                          *                *      *      *      *      *
                                          *
   ZURICH AMERICAN INSURANCE COMPANY *
                                          *
                    Plaintiff,            *
                                          *
   VERSUS                                 *
                                          *
   GREGORY ST. ANGELO, WILLIAM D.         *
   AARON, JR., HERBERT W. ANDERSON,       *                ADV. P. NO. _______________
   DALE ATKINS, JOHN C. CALHOUN,          *
   WILLIAM CARROUCHE,                     *
   LEANDER J. FOLEY, III, JOHN F. FRENCH, *
   LEON GIORGIO, JR., SHIVAN GOVIDAN,     *
   LAWRENCE BLAKE JONES, LOUIS            *
   LAURICELLA, MARK MERLO,                *
   HERMAN MOYSE, III, GRISH LLOYD         *
   PANDIT, JAMES RODDY, DR. CHARLES       *
   TEAMER, JOSEPH TOOMY, RICHARD M.       *
   WILKINSON, LOUIS BALLERO, MARSHA       *
   CROWLE, MARY BETH VERDIGETS,           *
   FRANK FUGETTA AND MICHAEL LULICH       *
                                          *
                    Defendants.           *
   *     *     *    *       *     *    *  *

                             COMPLAINT FOR INTERPLEADER
                             AND FOR DECLARATORY RELIEF

            Zurich American Insurance Company (“Zurich”), plaintiff herein, hereby seeks to

   interplead $270,872.85 (“the Proceeds”) and respectfully requests that this Honorable Court

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   determine whether defendants, Gregory St. Angelo, William D. Aaron, Jr., Herbert W. Anderson,

   Dale Atkins, John C. Calhoun, William Carrouche, Leander J. Foley, III, John F. French, Leon

   Giorgio, Jr., Shivan Govidan, Lawrence Blake Jones, Louis Lauricella, Mark Merlo, Herman

   Moyse, III, Grish Lloyd Pandit, James Roddy, Dr. Charles Teamer, Joseph Toomy, Richard J.

   Wilkinson, Louis Ballero, Marshal Crowle, Mary Beth Verdigets, Frank Fugetta and Michael

   Lulich, are entitled to the Proceeds. In support thereof, Zurich states as follows:

                                        JURISDICTION AND VENUE

           1.       First NBC Bank Holding Company filed a Voluntary Petition under Chapter 11 of

   the Bankruptcy Code on May 11, 2017, in the United States Bankruptcy Court for the Eastern

   District of Louisiana (No. 17-11213).

           2.       Zurich is the insurer of First NBC Bank Holding Company, its officers and

   directors, and other individuals, as defined by and pursuant to the terms and conditions of Zurich’s

   Policy No. DOP 9311203-04 (the “Policy”).

           3.       This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §1334,

   Federal Rule of Civil Procedure 22, and Federal Bankruptcy Rule of Procedure 7022. This is an

   interpleader action to deposit insurance Proceeds into the Court’s Registry and to obtain a

   declaration of the party or parties entitled to receive those proceeds, and further to obtain a

   declaration that Zurich is discharged from all further liability regarding the Proceeds concerning

   the controversy described herein. As detailed further below, Zurich finds itself facing competing

   demands from multiple Insured Persons1 under its Policy, which may expose Zurich to potentially

   duplicative litigation, and to the risk of conflicting judgments. Defendant Gregory St. Angelo is



   1
    Unless otherwise specified, capitalized and bolded terms used in this Complaint for Interpleader and Declaratory
   Relief have the same meaning that is ascribed to them in the Policy.

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   demanding immediate reimbursement of $270,872.85 in Defense Costs from the Policy’s

   proceeds, and the remaining Defendants have demanded that the reimbursement not be made, and

   that those same funds be used to pay their own Loss incurred under the Policy.

            4.    Venue is proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.

            5.    The statutory bases for the relief of the causes herein are 28 U.S.C. §1335 (the

   Federal Interpleader Statute) and 28 U.S.C. §2201 (the Declaratory Judgment Act).

                                              PARTIES

            6.    Plaintiff, Zurich, is a New York Corporation engaged in the insurance business

   with a statutory home office located at 4 World Trade Center, 150 Greenwich Street, New York,

   New York 10007, and its principal place of business at 1299 Zurich Way, Schaumburg, Illinois

   60196.

            7.    Defendant, Gregory St. Angelo, is upon information and belief a citizen of the State

   of Louisiana, who resides at 10 Tupelo Trace, Mandeville, LA 70471.

            8.    Defendant, Herbert W. Anderson, is upon information and belief a citizen of the

   State of Louisiana, who resides at 1400 Webster Street, New Orleans, LA 70118.

            9.    Defendant, Dale B. Atkins, is upon information and belief a citizen of the State of

   Louisiana, who resides at 2411 Oriole Street, New Orleans, LA 70122.

            10.   Defendant, William David Aaron, Jr., is upon information and belief a citizen of

   the State of Louisiana, who resides at 10 Natchez Trace Drive, Harvey, LA 70058.

            11.   Defendant, John C. Calhoun, is upon information and belief a citizen of the State

   of Louisiana, who resides at 5422 Prytania Street, New Orleans, LA 70115.

            12.   Defendant, William Carrouche, is upon information and belief a citizen of the State

   of Louisiana, who resides at 2709 Old Spanish Trail, Slidell, LA 70461.



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          13.    Defendant, Leander J. Foley, III, is upon information and belief a citizen of the

   State of Louisiana, who is domiciled in Louisiana.

          14.    Defendant, John Fenner French, Sr., is upon information and belief a citizen of the

   State of Louisiana, who resides at 230 Carondelet Street, New Orleans, LA 70130.

          15.    Defendant, Leon L. Giorgio, Jr., is upon information and belief a citizen of the State

   of Louisiana, who resides at P.O. Box 75010, Metairie, LA 70033.

          16.    Defendant, Shivan Govindan, a person of the full age of majority and domiciled in

   the State of Colorado, who resides at 230 Gaylord Street, Denver, CO 80206.

          17.    Defendant, Lawrence Blake Jones, is upon information and belief a citizen of the

   State of Louisiana, who resides at, 701 Poydras Street, Suite 4100, New Orleans, LA 70139.

          18.    Defendant, Louis Lauricella, is upon information and belief a citizen of the State of

   Louisiana, who is domiciled in Louisiana.

          19.    Defendant, Mark Merlo, is upon information and belief a citizen of the State of

   Louisiana, who is domiciled in Louisiana.

          20.    Defendant, Hermann B. Moyse, III, is upon information and belief a citizen of the

   State of Louisiana, who resides at 5926 Boone Drive, Baton Rouge, LA 70808.

          21.    Defendant, Grish Roy B. Pandit, is upon information and belief a citizen of the

   State of Louisiana, who resides at 25 Chateau Mouton Drive, Kenner, LA 70065.

          22.    Defendant, James C. Roddy, is upon information and belief a citizen of the State of

   Louisiana, who resides at 26 Audubon Place, New Orleans, LA 70118.

          23.    Defendant, Dr. Charles C. Teamer, Sr., is upon information and belief a citizen of

   the State of Louisiana, who resides at 32 Fairway Oaks Drive, New Orleans, LA 70131.




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          24.     Defendant, Joseph F. Toomy, is upon information and belief a citizen of the State

   of Louisiana, who resides at P.O. Box 663, Gretna, LA 70054-0663.

          25.     Defendant, Richard M. Wilkinson, is upon information and belief a citizen of the

   State of Louisiana, who resides at 813 Barracks Street, New Orleans, LA 70116.

          26.     Defendant, Louis P. Ballero, Jr., is upon information and belief a citizen of the State

   of Louisiana, who resides at 6537 Argonne Blvd, New Orleans, LA 70124.

          27.     Defendant, Marsha Crowle, is upon information and belief a citizen of the State of

   Louisiana, who resides at 6208 Pratt Place, New Orleans, LA 70122.

          28.     Defendant, Mary Beth Verdigets, is upon information and belief a citizen of the

   State of Louisiana, who resides at 2400 Gay Lynn Drive, Kenner, LA 70065.

          29.     Defendant, Frank Fugetta, is upon information and belief a citizen of the State of

   Louisiana, who is domiciled in Louisiana.

          30.     Defendant, Michael Lulich, is upon information and belief a citizen of the State of

   Louisiana, who is domiciled in Louisiana.

                               FACTS COMMON TO ALL COUNTS

   The Policy

          31.     Zurich issued a Financial Institution Select Insurance Policy to First NBC Bank

   Holding Company, No. DOP9311203-04, with a policy period of 06/09/2015 to 06/09/2016, which

   includes a Management Liability Coverage Part with an aggregate limit of liability of $15 million

   (the “Policy”). See Exhibit “A.”

          32.     All of the Interpleader-Defendants are Insureds under the Policy, subject to the

   Policy’s various terms, conditions, and exclusions.




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          33.   The Policy provides coverage to Insured Persons pursuant to its Coverage Part A

   for Management Coverage Liability.

          34.   Insuring Clause A of the Policy’s Management Liability Coverage Parts states as

   follows:

                INSURED PERSON LIABILITY COVERAGE


                The Insurer shall pay on behalf of the Insured Persons all Loss for
                which the Insured Persons are not indemnified by the Company
                and which the Insured Persons become legally obligated to pay on
                account of any Claim first made against them, individually or
                otherwise, during the Policy Period or the Extended Reporting
                Period or Run-Off Coverage Period, if exercised, for a Wrongful
                Act taking place before or during the Policy Period, subject to the
                applicable Limits of Liability set forth in the Declarations.
                …

          35.   The Policy’s Management Liability Coverage Part defines Claim as follows:

                A.      Claim means, in pertinent part:
                …
                1.      a written demand against any Insured Person for monetary
                damages or non-monetary or injunctive relief commenced by the
                Insured Person’s receipt of such demand, including a written
                demand that the Insured Person toll or waive a statute of
                limitations;
                …
                4.      a civil, criminal, administrative or regulatory investigation
                of any Insured Person commenced by the service upon or other
                receipt by the Insured Person of a target letter or other written
                notice from the investigating authority identifying by name the
                Insured Person as an individual against whom a proceeding may
                be commenced;
                …

                for a Wrongful Act, including any appeal therefrom.

          36.   The Policy’s Management Liability Coverage Part defines Insured Person as

   follows:

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                C.     Insured Person means:

                1.     any one or more natural persons who were, now are or shall
                       become a duly elected or appointed director, trustee,
                       governor, Manager, officer, advisory director, or member
                       of a duly constituted committee or board of the Company or
                       their functional equivalent;

                2.     any one or more natural persons not described in Subsection
                       1 above who were, now are or shall become Employees of
                       the Company;
                …

          37.   The Policy’s Management Liability Coverage Part defines Wrongful Act as

   follows:

                H.     Wrongful Act means:

                1.     any error, misstatement, misleading statement, act,
                       omission, neglect or breach of duty actually or allegedly
                       committed or attempted by any of the Insured Persons,
                       individually or otherwise, in their capacity as such;

                                 1.      any matter claimed against the Insured
                                         Persons solely by reason of their serving
                                         in such capacity; or

                                 2.      any error, misstatement, misleading
                                         statement, act, omission, neglect or breach
                                         of duty actually or allegedly committed or
                                         attempted by the Company.
                …

          38.   The Policy’s General Terms and Conditions defines Company as follows:

                       D.     Company means, collectively, the Policyholder and
                       its Subsidiaries, including any such organization as a debtor
                       in possession under United States bankruptcy law or an
                       equivalent status under the law of any other country.

          39.   The Policy’s General Terms and Conditions defines Policyholder as follows:

                       NN. Policyholder means the organization designated in
                       Item 1 of the Declarations.

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          40.     The Policy’s General Terms and Conditions defines Subsidiary as follows:

                         AAA. Subsidiary means:

                         1.      any organization other than a joint venture or
                         partnership (including ant Company acting as a general
                         partner of a partnership), in which more than fifty percent
                         (50%) of the outstanding voting securities or voting rights
                         representing the present right to vote for election of
                         directors, trustees, Managers, or equivalent executives is
                         owned or controlled, directly or indirectly, in any
                         combination, by one or more Companies;

          41.     Section VII(A)(1) of the Policy’s General Terms and Conditions states, “With

   respect to any Liability Coverage Part, if, pursuant to Item 8 of the Declarations, it shall be the

   duty of the Insureds to defend Claims . . .”

          42.     The Policy defines Loss as follows:

                  F.      Loss means the total amount the Insureds become legally
                  obligated to pay on account of Claims made against them for
                  Wrongful Acts for which coverage applies, including, but not
                  limited to, damages (including punitive, exemplary or multiple
                  damages), judgments, any award of pre-judgment or post-judgment
                  interest with respect to covered damages, settlements and Defense
                  Costs.

                  The insurability of such punitive, exemplary or multiple damages
                  shall be determined under the internal laws of any applicable
                  jurisdiction most favorable to the Insureds, including without
                  limitation the jurisdiction in which the Insureds, the Insurer, this
                  policy or such Claim is located.

                  Loss does not include any of the following provided this sentence
                  does not apply to Defense Costs with respect to any of the
                  following:

                  1.     any amount not indemnified by the Company for which the
                         Insureds are absolved from payment by reason of any
                         covenant, agreement or court order;


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                  2.      taxes, fines or penalties imposed by law;

                  3.      any amount incurred by the Company that represents or is
                          substantially equivalent to an increase in the consideration
                          paid or proposed to be paid by a Company in connection
                          with its purchase of any securities or assets;

                  4.      any amount incurred by the Company to comply with any
                          injunctive or other equitable relief or any agreement to
                          provide such relief;

                  5.      any amount incurred as a result of an administrative or
                          regulatory proceeding; or

                  6.      matters uninsurable under the law pursuant to which this
                          policy is construed.

          43.     Section V of the Policy’s General Terms and Conditions provides as follows:

                          A.      If in any Claim under the Liability Coverage Parts the
                          Insureds incur both Loss covered by this policy and loss not
                          covered by this policy either because the Claim against the
                          Insureds includes both covered and uncovered matters or
                          because the Claim is made against both Insureds who are
                          afforded coverage for such Claim and others, including
                          Insureds, who are not afforded coverage for such Claim, the
                          Insureds and the Insurer shall use their best efforts to allocate
                          such amount between covered Loss and uncovered loss based
                          upon the relative legal and financial exposures of the parties to
                          covered and uncovered matters; provided however that one
                          hundred percent (100%) of any such Defense Costs shall be
                          allocated to covered Loss if and to the extent such Defense
                          Costs are incurred by covered Insureds and are in part covered
                          and in part not covered by this policy solely because the Claim
                          against the Insureds includes both covered and uncovered
                          matters.

          44.     Section VI.C. of the Policy’s General Terms and Conditions states that “[a]ny

   advancement or payment of Defense Costs shall be repaid to the Insurer by the Insureds severally

   according to their respective interests if and to the extent the Insureds shall not be entitled under

   the terms and conditions of this policy to coverage for such Defense Costs.”

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   The Noticed Matters

          45.       The Defendants have cumulatively provided notice of multiple matters under the

   Policy to Zurich including, but not limited to, the following:

                •   a demand letter from the FDIC-R dated August 25, 2017, in which the FDIC-R

                    indicates its intention to recover alleged damages in the amount of at least $250

                    million based on certain Defendants’ alleged breaches of duty to the Bank and/or

                    First NBC Bank Holding Company;

                •   a lawsuit filed by the Official Committee of Unsecured Creditors of First NBC

                    Bank Holding Company (the “Committee”), entitled Official Committee of

                    Unsecured Creditors of First NBC Bank Holding Company v. Ashton J. Ryan, Jr.,

                    et al., Case No. 2:19-cv-10341;

                •   a lawsuit entitled Academy Place, LLC, et al. v. First NBC Bank, et al., originally

                    filed in Louisiana’s Civil District Court for the Parish of New Orleans, Docket No.

                    17-4057

                •   multiple subpoenas issued by the Securities Exchange Commission;

                •   multiple federal grand jury subpoenas;

                •   a target letter issued by the U.S. Department of Justice;

                •   multiple subpoenas issued by the FDIC-R;

                •   multiple subpoenas issued by the FDIC’s Legal Division, as a precursor to a

                    potential enforcement proceeding;

          46.       Since the inception of these matters, the Defendants have sought coverage for the

   same under the Policy, including the advancement of Defense Costs.


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          47.     This Court has issued two Orders in the Chapter 11 bankruptcy proceeding

   regarding distribution of proceeds from the Policy. On January 26, 2018, the Court ordered that

   the “2016-2017 insurers” are to “comply with the terms of their respective policies, including,

   without limitation, to advance, reimburse or make payments on account to defense costs (including

   and without limitation attorney’s fees and expenses) and other Loss as defined in the respective

   policies. . .”. The order further provided that “aggregate payments permitted in the policies shall

   be subject to a “soft cap” of $5 million.” (Case 17-11213, R. Doc. 325 at p 2). The Court issued

   a second order on March 14, 2019, providing that “the aggregate payments permitted under the

   policy shall be subject to a “soft cap” of $9 million (an increase of $4 million from the original

   Soft Cap”) (Case 17-11213, Doc. 531). Copies of those orders are attached to this Complaint as

   Exhibits “B” and “C”.

   Guilty Plea by Defendant St. Angelo

          48.     On March 22, 2019, a Bill of Information to Commit Bank Fraud and Notice of

   Forfeiture was filed against Gregory St. Angelo in the United States District Court for the Eastern

   District of Louisiana, No. 2:19-CR-00055, alleging that Mr. St. Angelo was the general counsel of

   First NBC Bank from September of 2006 through September of 2016, and alleging conspiracy to

   commit bank fraud. (See Case No. 2:19-CR-0055, R. Doc. 1, 03/22/2019).

          49.     Zurich had previously agreed to provide reimbursements for Defense Costs to Mr.

   St. Angelo pursuant to a Reservation of Rights.

          50.     On June 28, 2019, Mr. St. Angelo formally pled guilty to one count of conspiracy

   to commit mail fraud in violation of 18 U.S.C. §1349 and also admitted that he engaged in an

   intentional scheme along with two other unnamed officers at First NBC to defraud the bank. As

   part of his plea agreement, Mr. St. Angelo knowingly and voluntarily waived and has given up any



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   right to appeal or contest his guilty plea, conviction, sentence, fine, supervised release and any

   restitution imposed by the Court, with the sole exception being sentenced to a term of

   imprisonment in excess of the statutory maximum.

          51.     On July 29, 2019, Zurich notified Mr. St. Angelo that it was going to deny coverage

   to him under two exclusions of the policy - which require a final and non-appealable adjudication

   of guilt – namely, Sections IV(I) and IV(J) of the Policy’s Management Liability Coverage Part.

   In the same letter, Zurich also demanded that Mr. St. Angelo return all monies previously advanced

   by Zurich.

          52.     All defendants other than Mr. St. Angelo are either former directors of First NBC

   Bank and/or have asserted that they are Insured Persons under the Policy, and all have submitted

   claims under the Policy for reimbursement of their attorney’s fees and expenses.

                                    THE COMPETING CLAIMS

          53.     Mr. St. Angelo has disputed Zurich’s position denying him coverage and argued

   that a “final adjudication” under the Policy does not occur until he is sentenced by the Court, and

   he therefore contends that Zurich must continue to pay his fees up until his date of sentencing. Mr.

   St. Angelo has demanded payment for all outstanding defense costs not yet reimbursed to him

   under the Policy (a total of $270,872.85 to date). Mr. St. Angelo has further stated that if Zurich

   fails to pay, then he will commence a lawsuit against Zurich, including seeking bad faith damages.

          54.     In light of Zurich’s duty of good faith to all of its insureds, in light of its duty to

   safeguard against any potential claw back proceeding against Mr. St. Angelo, and to avoid

   potentially favoring the interests of any one Insured Person(s) over the interest of any other

   Insured Person(s), by letter dated September 17, 2019, Zurich inquired whether any of the other

   Insured Persons currently receiving funds from the Policy had any objection to the continued

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   payment of fees for Mr. St. Angelo. In in response, Zurich received four letters on behalf of 23

   individuals who comprise all defendants in this action other than Mr. St. Angelo, and who

   collectively made demands that Zurich not make any further payments from the Policy’s Proceeds

   to Mr. St. Angelo (the “Objecting Insureds”). The Objecting Insureds also demanded that Zurich

   recoup all fees that have been paid to date to Mr. St. Angelo.

          55.     The Objecting Insureds contend that Zurich should not make any further

   reimbursements to Mr. St. Angelo under the Policy on multiple grounds. They contend that Mr.

   St. Angelo’s guilty plea and admissions trigger the fraudulent conduct exclusions under the policy.

   Additionally, the Objecting Insureds contend that in light of Mr. St. Angelo’s guilty plea, he should

   be judicially estopped from receiving further fees under the Policy. Further, they contend that Mr.

   St. Angelo should not be allowed to drain the Policy’s limit of liability funds, which he is

   contractually obligated to repay, when those funds potentially could be used for the benefit of other

   insureds. Further, the Objecting Insureds contend that Mr. St. Angelo does not qualify as an

   Insured Person under the Policy, and therefore has no right to receive any proceeds from the

   Policy. Finally, the Objecting Insureds contend that Mr. St. Angelo has failed to comply with the

   applicable orders issued by the Court concerning the receipt of funds from the Policy.

   Notwithstanding Zurich’s good faith efforts to resolve the controversy, the Objecting Insureds

   have declined to withdraw their demands and objections.

          56.     As set forth above, Zurich is subject to inconsistent and conflicting demands with

   respect to the $270,872.85 that Mr. St. Angelo seeks from Zurich for payment of Defense Costs

   (and that amount is expected to increase each month as new fees are incurred). Zurich cannot pay

   Mr. St. Angelo's continued Defense Costs without exposing Zurich to a lawsuit that it favors the

   rights of one Insured Defendant over the rights of another Insured Defendant. Likewise, Zurich



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   cannot refuse to pay Mr. St. Angelo's continued Defense Costs without exposing Zurich to a

   lawsuit that it favors the rights of one Insured Defendant over the rights of another Insured

   Defendant.




                                  COUNT ONE - INTERPLEADER

            57.    Zurich hereby incorporates the allegations set forth in paragraphs 1 through 56 as

   if fully set forth herein.

            58.    Pursuant to the Federal Interpleader Statute, Rule 7022 of the Federal Rules of

   Bankruptcy Procedure, and Rule 22 of the Federal Rules of Civil Procedure, this Court may resolve

   and declare which among two or more parties that have claimed entitlement to a sum of money

   rightfully is entitled to the money.

            59.    Zurich will move to deposit the proceeds with the Clerk of Court as required by 28

   U.S.C. §1335.

            60.    Zurich respectfully requests that this Honorable Court determine which of the

   defendants are entitled to the Proceeds and order the distribution of the Proceeds to the proper

   party.

                            COUNTER II – DECLARATORY JUDGMENT

            61.    Zurich prays that this Court declare that Zurich is discharged from all further

   liability from any of the defendants or anyone else with respect to the Policy and the Proceeds

   thereunder with respect to the issue of any and all further payments of Loss to Mr. St. Angelo,

   including any claims for bad faith.

            62.    Zurich prays that the Court award it its reasonable attorney’s fees and court costs.

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          63.     Zurich prays for all such relief, both general and special, at law and in equity, to

   which it may show itself to be justly entitled.

                                        PRAYER FOR RELIEF

          Zurich respectfully requests the following relief:

          1.      That defendants be served with the Summons and this Complaint and be required

   to answer in a time and manner prescribed by law;

          2.      That the Court accept the Policy Proceeds into the Court’s Registry pending further

   Order of this Court;

          3.      That the Court enter an order discharging Zurich of all liability to defendants or to

   anyone else with regard to the issue of any and all further payments of Loss to Mr. St. Angelo

   under the Policy and Proceeds thereunder;

          4.      That the Court award Zurich its reasonable attorney’s fees and court costs to be

   paid from the interpleaded funds;

          5.      That the Court award the Policy Proceeds to the party or parties rightfully and

   legally entitled to receive them;

          6.      That Zurich receives all such other and further relief, both general and special, at

   law and in equity to which it is entitled.

   Dated: January 24, 2020.




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   Respectfully submitted,
                                             /s/ John W. Hite III
                                            Salley, Hite, Mercer & Resor LLC
                                            JOHN W. HITE III (17611)
                                            GLEN E. MERCER (21752)
                                            MARCEL MOULLEDEAUX (30339)
                                            JAMES G. ALBERTINE III (32053)
                                            One Canal Place
                                            365 Canal Street, Suite 1710
                                            New Orleans, LA 70130
                                            Telephone: 504/566-8800
                                            Facsimile: 504/566-8828
                                            BY: /s/ John W. Hite III
                                                    JOHN W. HITE III
                                            ATTORNEYS FOR ZURICH AMERICAN
                                            INSURANCE COMPANY
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